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ANMC expects to carefully deconstruct the Confederate
Memorial bronze statue in a deliberate and careful
manner. It will be moved to a secure temporary storage
facility pending a final disposition determination, which
will be determined in future consultations. The granite
pedestal on which the memorial sits will be left in-situ. No
ground disturbing activities will occur, as the memorial is
in the center of burial Section 16.

While the disassembly work occurs, the surrounding
landscape, graves, and headstones will be protected.
Staging will occur on the circular drive that surrounds the
memorial. Fencing will be erected around Section 16 to
protect the surrounding landscape and grave markers
and to ensure the safety of visitors.

After disassembly, the site and landscaping will be
restored. The appearance and condition of the granite
surface beneath the memorial is unknown. It will receive
any necessary temporary and reversible fills (consistent
with SOI standards) to ensure the structure is watertight
and safe for visitors. Temporary fencing consistent with
ANC’s design guide could be installed while site
disposition is determined in future consultations.

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ma Sake
Satellite View of Project Area with limits of construction in RED.

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Cemetery

Search Results
4 records found

< Return to Search

EZEKIEL, HAROLD

1/21/1896 08/19/1962

EZEKIEL, ROSINA M

03/20/1902 10/27/1997

Page 1 of 1

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Proposed Limits of 7
Construction (LOC) ||.
outlined in RED.

Possible equipment =f.
and laydown areas «jo
outlined in BLUE.

NOT FOR CONSTRUCTION

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No protection to graves
closest to monument,
guaranteed by
Programmatic
Agreement, Section IV.
D.C.v (page 13)

Staging is not occurring
on paved portion of
Jackson Circle as

_ described in the only
Action Alternative
analyzed by Env. Analysis
Section 2.2.2.1.

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Location of Grave of
Moses Ezekiel appears to
be removed and
otherwise not protected.
Programmatic
Agreement Section
IV.D.C.v (page 13) says
contractor workplan
must include protection
of the Gravestones.

